
In re Jones, Robert; — Plaintiff; Applying For Supervisory and/or Remedial *1250Writs, Parish of St. Tammany, 22nd Judicial District Court Div. J, No. 334151; to the Court of Appeal, First Circuit, No. 10 KW 0770.
Denied. To the extent that relator seeks a cost estimate of documents available to him under the Public Records Law, he must first address his request to the records’ custodians. R.S. 44:31; State ex rel. Shelton v. State, 00-1901 (La.9/14/01), 796 So.2d 672; State ex rel. McKnight v. State, 98-2258 (La.App. 1st Cir.12/3/98), 742 So.2d 894.
